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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Kelly Cisneroz, Maria Ramirez,                )
et al.,                                       )
                                              )
                      Plaintiffs,             )
  v.                                          )       No. 1:21-cv-5818
City of Chicago, a municipal corporation,     )
                                              )       Hon. Sharon Johnson Coleman
                      Defendant.              )

    UNOPPOSED MOTION TO RETROACTIVELY EXTEND TIME FOR THE TRO
     RESPONSE FOR ONE DAY AND MOTION TO FILE THE TRO RESPONSE
                            INSTANTER

       NOW COMES, the Plaintiffs, by and through with their attorneys and hereby respectfully

requests this Honorable to grant this unopposed Motion to Retroactively Extend Time for one

day and Motion to File the TRO Response Instanter filed today as if it was filed timely.

       1.      On the day it was due, yesterday, November 9th, Attorney Frank Avila had spotty

internet access and difficulties with the internet which impeded completing this response in a

timely manner.

       2.      Attorney Frank Avila had to go to McLean County for Court today which was a

two-hour drive to Court and two and a half hours back from court.

       3.      Attorney Frank Avila fell slightly ill with sinus and cough and fatigue—non

COVID-19 but still impeded his completing this.

       4.      It is only a one day extension of time and this is not onerous to the court nor the

other side.

       5.      There is no objection by the other side, thus it is an unopposed motion

       6.      Substantial Justice requires granting this one day extension of time.

       7.      This is not a long extension, nor does it prejudice the other side.

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       WHEREFORE, these Plaintiffs respectfully request that this Honorable Court grant this

Motion to retroactively extend time for one day and allow this response to be filed instanter and

accepted as timely.

                                              Respectfully Submitted,
                                      By:            /s/ Frank Avila
                                              Attorney for Plaintiffs
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                                 CERTIFICATE OF SERVICE
       The undersigned certifies that on November 10, 2021, that he caused to be electronically

filed the foregoing Motion with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to all parties and counsel of record who are ECF filers.

                                                              /s/ Frank Avila




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